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  The General Methodology and Scope of this Examination:


  The evidence in this case is primarily a series of emails in text form purporting to be from Defendant,
  both from his longtime yahoo account (g.dikian@yahoo.com) and from a similarly named separate Gmail
  account (George.dikian@gmail.com) set up only on 2022-03-17.

  The main question is whether Defendant was involved in sending or receiving the emails facilitating the
  fraud.

  I have examined documents provided by Counsel which are the products of discovery from various
  providers and email contents. I have diligently examined what was provided by Counsel, but this is not
  the complete evidence in its original context. As a general comment, it is always more difficult to prove a
  negative, i.e. that someone did not do something, than that someone did do something. Still, from
  examined evidence, along with extensive experience of the behavior of malefactors who compromise
  accounts, conclusions can be drawn in which confidence can be put.

  CONCLUSIONS:


      1. The g.dikian@yahoo.com account (Dikian’s working account) was compromised on or before
         1/28/2022 by currently unknown malefactors. (That was the date of the first anomalous login
         shown in the Yahoo! subpoena response). This could most easily have been accomplished by a
         targeted phishing attack against the accountholder in which he was tricked into typing his login
         password into a web site constructed to resemble that of yahoo.com. Another possibility is that
         targeted malware was used to compromise his laptop or phone, and leak his password to the
         malefactor.

                 did not, at the time, use a second factor to protect any of his accounts, so the password
          alone would have sufficed to impersonate him.

          The account compromise is evidenced by a series of logins starting in January from WIFI
          connection of an Internet provider in Portugal, and separate connections from a VPN provider
          while        was normally logging in from his usual locations in Florida and/or via his cellphone.

          There were also multiple successful attacks on that account’s recovery information, which
          resulted in email addresses being added to the account records that could be used to change
          password. (See below for more detail).

          The long email thread, Subject: 89.com Domain Purchase Inquiry showed a Portugal WIFI login
          by the fraudster (on Mar 8, 2022, 16:16 Z = 8:16am PST), around the beginning of the first reply
          (Mar 8, 2022, 7:03 am). There were also logins by         slightly later on that day using ATT.
          None of the emails sent by fraudsters using the yahoo account appear in received or sent email
          folders. (They cleaned up after themselves).

      2. The g.dikian@yahoo.com account contained sent mail (from 2017) to                 web contractor
         containing the hostgator password, still unchanged in 2022.

          Malefactors typically inspect the sent and received email in compromised accounts to find
          credentials, pending deals, or transactions they can monetize. This is a plausible hypothesis for
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         the way the intruder gained control over the hostgator account, which shows logins from the same
         ip addresses as other malefactor activities.

     3. The malefactors set up one short-lived account at gmail, George.dikian@gmail.com one long-
        lived account: rhwdomains@gmail.com, both of which were used substantially or entirely for
        engineering fraud. George.dikian was set up at 2022-03-17 08:42:27 Z and rhwdomains was set
        up on 2019-05-24 16:13:50 Z. However, both accounts were deleted within the same 12 minute
        period, one at 2022-10-13 17:01:35 Z and one at 2022-10-13 16:49:52 Z. This is extremely
        unlikely to be a coincidence.

     4. My belief is that there were two malefactors, since they habitually used different login
        mechanisms. The IP addresses used to log on to the gmail account were closely related to those
        used to log on to the compromised yahoo account (same Portugal ISP and same VPN).

         The Portugal logins were from MEO Wifi access points in multiple locations in Portugal. (Wifi
         access is obtained by buying a voucher delivered to a cell phone or by using prior account
         relationship, so it may be possible to circumstantially identify one malefactor although many
         foreign corporations do not cooperate with foreign civil discovery.)

         The VPN logins are probably untraceable.

                states that he was in the US during the entire period and his history of logins from his
         cable modem at home in Naples, FL supports that claim. He also uses an ATT hotspot, and there
         are logins which anomalously show “Redmond, WA” as the location on approximately 4 dates in
         early 2022.

     5. It was stated by          that there were filters set up on the yahoo account so mail with certain
        properties (e.g. from particular parties or containing important words or phrases) would be
        filtered into folders so the true account owner would not see them. This is a standard practice for
        malefactors on compromised accounts. (I have not been able to verify that this was done -- Yahoo
        does not keep logs of filters set up or deleted in account records).


                represents that he uses a Windows laptop and (in 2022) a Samsung Note 9 (Android)
         (switched to a Samsung S23 Ultra in June 2023). He says he does not own any Apple hardware.
         Based on Google discovery, the user agent strings used to log in on the George.dikian@gmail
         account were Macintosh; Intel Mac OS X 10_15_7 on two occasions.



     6. Based on my interview with         , he is not a particularly sophisticated user of computing. He
        uses his laptop and phone mainly as a communications device, for email and Whatsapp. He has
        multiple email addresses which forward mail to his Yahoo account. He does not download or use
        third party apps (not even Microsoft Office). His anti-virus software is the default Microsoft
        offering bundled with Windows. He was unaware what version of Windows he was running in
        2022 or now. He said his machine received Microsoft patches regularly and applies them
        automatically. He did not use multifactor authentication until the fraud was pointed out to him.
        He said he has never used a VPN.
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  Date          Channel               Action        IP
  2020-12-16                          remove by
  12:25:34
                enp rat on@gma .com
                                      user
                                                    2600:387:1:817::b5
  2020-12-16                          add by
  08:23:10
                enp rat on@gma .com
                                      agent
                                                    10.201.242.171
  2020-12-11                          remove by
  07:34:31
                       @yahoo.com
                                      user
                                                    107.77.217.11
  2020-12-11                          remove by
  06:27:08
                       @gma .com
                                      user
                                                    2600:387:a:3::18
  2020-12-11                          remove by
  06:12:07
                rhwdoma ns@gma .com
                                      user
                                                    2600:387:a:3::c3
  2020-12-11
  06:02:04
                    @yahoo.com        add by user   2600:387:a:3::18
  2020-12-11
  05:33:45
                       @gma .com      add by user   91.132.137.204
  2020-12-11                          remove by
  05:32:45
                       @gma .com
                                      user
                                                    91.132.137.204
  2020-12-11
                       @yahoo.com     add by user   91.132.137.204
  05:32:45
  2020-12-11                          add by
                rhwdoma ns@gma .com                 10.201.242.169
  05:17:06                            agent
  2017-08-08
                +13107099449          add by user   2605:e000:6083:f300:a87b:3deb:b2b3:2085
  01:11:18
  2017-08-07                          remove by
                +13107099449                        96.47.226.21
  23:59:02                            user
  2015-06-28
                       @gma .com      add by user   98.139.244.166
  00:00:22
  2015-05-26
                +13107099449          add by user   76.91.7.203
  15:43:08


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  Mark Seiden

  3 July 2023
